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                      Exhibit H
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                                                                         1

 1              UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF LOUISIANA
 2

 3   IN RE:   OIL SPILL          )   MDL NO. 2179
     BY THE OIL RIG              )
 4   "DEEPWATER HORIZON" IN      )   SECTION "J"
     THE GULF OF MEXICO, ON      )
 5   APRIL 20, 2010              )   JUDGE BARBIER
                                 )   MAG. JUDGE SHUSHAN
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20                  Deposition of ROBERT STEPHEN
21   GAMS, taken at Pan-American Building,
22   601 Poydras Street, 11th Floor, New Orleans,
23   Louisiana, 70130, on the 25th day of October,
24   2011.
25



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                                                                                 125

         1         A.       Yes.
         2         Q.       And what were you doing every
         3   day in between August 5 and December?
         4         A.       Trying to get my life back
11:04    5   together.
         6         Q.       And were you -- where was the
         7   COOL BREEZE from August 5, 2010 to
         8   December 10th, 2010?
         9         A.       Zeke's Marina.
11:04 10           Q.       And did you do anything with the
        11   COOL BREEZE between August 5, 2010 and
        12   December 10th, 2010?
        13         A.       I believe there is a few days
        14   where I did run a couple of fishing trips,
11:05 15     and we deducted those days from the -- the
        16   period.
        17         Q.       You deducted those days from
        18   what period?
        19         A.       That we're contesting.
11:05 20           Q.       Let's go back to the
        21   interrogatories.      It's Exhibit 67.
        22   Specifically your response to Interrogatory
        23   No. 6.    So it says, "COOL BREEZE received
        24   income from several charter trips during the
11:06 25     fall of 2010"; is that correct?


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                                                                                 126

         1         A.       That's correct.
         2         Q.       Okay.   And how many trips,
         3   charter trips did the COOL BREEZE go on
         4   during the fall of 2010?
11:06    5         A.       I believe it was four short
         6   trips, less than six hours.        Four-hour trips,
         7   I believe they were.
         8         Q.       And when did these charter trips
         9   occur?
11:06 10           A.       I don't recall specifically.
        11         Q.       All right.     Do you -- is -- do
        12   you have approximate dates of these charter
        13   trips?
        14         A.       Late fall.
11:07 15           Q.       Like, in November?
        16         A.       Yes.
        17         Q.       You had four trips.       And how
        18   much were you compensated for each of these
        19   trips?
11:07 20           A.       $600.
        21         Q.       For each trip, $600?
        22         A.       Yes.
        23         Q.       And where did these trips occur?
        24         A.       In the Gulf of Mexico.
11:07 25           Q.       Okay.   And you participated in


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                                                                         170

 1   THE STATE OF LOUISIANA :
     PARISH    OF   ORLEANS :
 2
     I, PHYLLIS WALTZ, a Certified Court Reporter,
 3   Registered Professional Reporter, and
     Certified Realtime Reporter in and for the
 4   State of Louisiana, do hereby certify that
     the facts as stated by me in the caption
 5   hereto are true; that the above and foregoing
     answers of the witness, ROBERT STEPHEN GAMS,
 6   to the interrogatories as indicated were made
     before me by the said witness after being
 7   first duly sworn to testify the truth, and
     same were reduced to typewriting under my
 8   direction; that the above and foregoing
     deposition as set forth in typewriting is a
 9   full, true, and correct transcript of the
     proceedings had at the time of taking of said
10   deposition.
11   I further certify that I am not, in any
     capacity, a regular employee of the party in
12   whose behalf this deposition is taken, nor in
     the regular employ of his attorney; and I
13   certify that I am not interested in the
     cause, nor of kin or counsel to either of the
14   parties.
15   GIVEN UNDER MY HAND AND SEAL OF OFFICE, on
     this, the 25TH day of OCTOBER, 2011.
16
17
18                        ___________________________
                          PHYLLIS WALTZ, RPR, CRR
19                        TEXAS CSR, TCRR NO. 6813
                          Expiration Date: 12/31/11
20                        LOUISIANA CCR NO. 2011010
                          Expiration Date: 12/31/11
21
22   Worldwide Court Reporters, Inc.
     Firm Certification No. 223
23   3000 Weslayan, Suite 235
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24   (713) 572-2000
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